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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
LONE STAR AMERICAS ACQUISITIONS, INC. :
and LSRMF3 AQ HOLDINGS TRUST,            :     Civil Action No.: 22-cv-08852-JGK
                                         :
                        Plaintiffs,      :
                                         :
             vs.                         :
                                         :
SUSA FINANCIAL, INC. d/b/a FIRSTFUNDING, :
INC.,                                    :
                                         :
                        Defendant.       :
------------------------------------x




  MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION TO REMAND




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